Case 1:20-cv-00035-DCN Document1 Filed 01/23/20 Page 1 of 4

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STEPHEN W, KENYON"
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CLERK, DISTRICT OF IDAHO

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